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                            SO UTH ER N D ISTR ICT O F FLO R IDA
                                    M IA M IDIVISIO N

                                 CA SE N O .12-21176-CIV-K IN G

  SERGIO M END EZ-G ON ZALEZ,

         Plaintiff,


  RODRIGUEZ GROUP HO M E,INC.,
  RODRIGU EZ ALF #2,IN C,,and
  LYDIA RODRIGUEZ,

         Defendants.
                                                          /

      O R DER G R ANTIN G PLA INTIFF'S M O TIO N FO R PA RTIA L SUM M ARY
                                  JUD G M ENT

         TH IS CAU SE isbefore the Courton Plaintiff sM otion forPartialSum m ary

  Judgment(DE //18),filed June 25,2012, Therein,Plaintiffseekssummaryjudgment
  solely ontheissueofenterprisecoverageundertheFairLaborStandardsAct,29U.S.C.j
  201,etJ'ct?.,(SCFLSA'')asrelevanttothisCourt'ssubjectmatterjurisdiction.Defendants
  did nottsle a response. The Courthas review ed Plaintiff s m otion,relevantcaselaw and

  the record evidence subm itted in supportofthe M otion.' Based upon a thorough review

  ofthe record,the Courtfindsthatthere are no genuine issues ofm aterialfactto preclude


  lBy notresponding,Defendantsfailto contradictany evidence subm itted by Plaintiff.Pursuantto Rule
  56(e),theCourtispermittedtoconsiderfactscitedwithsupportbyamovantbutleftuncontrovertedby
  thenonmovantasundisputed forpurposesofrulingonasummaryjudgmentmotion.SeeFed.R.Civ.P.
  56(e);seealsoHeadv.CornerstoneResidentialManagement,lnc.,No.05-80280-C1V,2010W L
  3781288,at*2 n.2 (S.D.Fla.Sept.22,2010)(findingthatunderLocalRule7.5(d),(ûgulnlessaparticular
  undisputedfactfrom (movant'slstatementisdirectlyaddressed by (nonmovantsj,the(movants')
  statementswhicharesupportedbyevidenceintherecord,aredeemedadmitted.').
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  partialsummaryjudgmentontheissueofenterprisecoverage.
         On M arch26,2012,PlaintiffSergioM endez-Gonzalez(isM endez-Gonzalez'')filed
  this claim to recover overtim e and m inim um w ages under FLSA . Plaintiff alleges that

  D efendants'assisted living facilities are an entep rise covered underFLSA pursuantto 29

  U.S.C.203(s)(B),becausethey aredsfacilitiesprimarily engaged in the care ofthe sick,
  the aged,orthe m entally i1lordefective w ho reside on the prem isesofsaid institutions.''

  (Compl.,DE #1,at!11).Plaintiffworked asan attendantatDefendants'assisted living
  facilities,where his tasksincluded taking care ofclients,cleaning and cooking. 1d.;D ep.

  ofLydia Rodriguez,D E #19-1,atp. 15:5-14. D efendantLydia Rodriguez is the owner

  ofALF 1,DefendantALF 2,and DefendantRodriguez Group Home.2 (P1.'s S.O.M .F.,
  DE #19,!3);RodriguezDep.atp.12:4-9.
         Plaintiffnow movesforpartialsummaryjudgmentontheisolatedissueofwhether
  Defendantsaresubjectto therequirementsoftheFLSA underenterprisecoverage. An
  employee m ay establish a claim forovertim e and m inim um wage com pensation underthe

  FLSA by establishing eitherindividual or enterprise coverage. Scottv.K.I'JI M ax Invs.,

  Inc.,256 F.App'x 244,247 (11th Cir.2007). Plaintiffcontendsthattheundisputed facts
  show that the FLSA applies in this m atter because D efendants' business qualifies for

  enterprise coverageunderthe definition setforth in 29 U.S.C.j 203(s)(1)(B). Summary
 judgmentisappropriatewherethepleadingsand supporting materialsestablish thatthere
  is no genuine issue as to any m aterial fact and that the m oving party is entitled to


  2Itisundisputed thatthe three companiesare acommon businessenterprise,asthey are owned,
  controlled,and operated togetherby DefendantRodriguez. RodriguezDep.,atpp.12:4-13:19.
                                                 2
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  judgmentasa matteroflaw. kvec Fed.R.Civ.P.56;Celotex Corp.v.Catrett,477 U S.            .




  317, 322 (1986). A fact is d'
                              km aterial'' if it m ay determ ine the outcom e under the

  applicablesubstantive law .Anderson v Libert
                                        .
                                             y Lobby,Inc.,477 U.S.242,248 (1986).If
  the record as aw hole could notlead a rationalfact-finderto find forthenonm oving party,

  there isno genuine issue offactfortrial. See M atsushita Elec Indus.Co.v.Zenith Radio
                                                              .




  Corp.,475 U.S.574,587 (1986). The nonmoving party mustshow specific facts to
  supportthatthere is a genuine dispute. 1d..

         To establish enterprise coverage,aplaintiffmustdem onstrate thathis em ployer

  isan Sdenterprise engaged in com m erce ortheproduction ofgoodsforcom m erce '' See
                                                                                .




  29 U.S.C.j207(a)(1);Thornev.AllRestorationServices,Inc',448F.3d 1264,1266
  (11th Cir.2006).TheFLSA provides,inpertinentpart,thatsuch an enterprise
  includes one that:

        $$(B)isengaged in the operation of...an institution primarily engaged in
        the care ofthe sick,the aged,orthe m entally i11or defective w ho reside on
        theprem isesofsuch institution....;''

  29 U.S.C.j203(s)(1)(B).
        PlaintiffarguesthatD efendants'businessisSûan institution prim arily engaged in

  thecare ofthe sick,the aged,orthe m entally illordefective who reside on theprem ises

  ofsuch institution.''(P1.'sM ot.,DE #18,at4).By notresponding toPlaintiffsM otion,
  D efendantsfailto deny thism aterialfact. Based on thisalone,the Courtisperm itted to

  acceptPlaintifpsfactualassertion astrue.SeeFed.R.Civ.P.56(e)(2)(:ûIfaparty fails...
 to


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  properlyaddressanotherparty'sassertion offactasrequiredby Rule56(c),thecourt
  mayconsiderthefactundisputed forpurposesofthemotion.'');Celotex,477U.S.at324
  (findingthatoncethem ovingpartyestablishesthe absenceofagenuineissueofmaterial
  fact,the burden shiftsto the nonm oving party to provide Sispecitsc facts show ing that

  thereisagenuineissuefortria1.'');seealso n.1,supra atp.1.
        Plaintiff,how ever,also hasprovided the deposition testim ony ofD efendantLydia

  Rodriguez in supportofits M otion. D efendantRodriguez testitsed thattheprim ary

  fundion ofD efendantRodriguez G roup H om e isto care forthe m entally disabled and

  handicapped personswho live atthe facility. RodriguezD ep., atp.18:3-24.D efendant

  Rodriguez additionally testifed thatthe prim ary function ofALF 1 and D efendantALF 2

  isto help drug addictswho live ateach facility.1d.atp.19:9-24. Therefore,the Court

  findsthatthe uncontroverted Statem entofM aterialFactsin SupportofPlaintiff sM otion

  forPartialSummary Judgment(DE #19)andtheundisputed deposition testimony of
  D efendantRodriguez show thatDefendants'business isa covered entem rise pursuantto

  29U.S.C.j203(s)(1)(B).
        Accordingly,itishereby O RD ER ED ,AD JU DG ED and DECR EED asfollow s:

               PlaintiffsM otion forPartialSummary Judgment(DE #18)ishereby
               GRANTED.TheCourttindsasamatteroflaw thatDefendantsaresubject
               to the requirem ents ofFLSA underenterprise coverage.

               DefendantsshallANSW ER PlaintiffsComplaint(DE #1)within twenty
               (20)daysofthe date ofthisOrder.

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        D O NE and ORD ER ED in cham bersatthe Jam esLawrenceK ing FederalJustice

  Building and United States Courthouse, M iam i,Florida,this 18th day ofJuly, 2012.




                                          JA ES LA W REN CE K IN G
                                             ITED STATES D ISTRICT JU         E
                                           O UTHERN DISTRICT OF FL           DA

  CC*


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